
In re Empiregas Corp.; Empiregas Inc. of Lake Charles; Empiregas Inc. of Eunice; Empiregas Inc. of Lake Provid.; Empiregas of La.; — Defendant(s); applying for supervisory and/or remedial writs; Parish of Cameron, 38th Judicial District Court, Nos. 10-14056, 10-14059, 10-14060, 10-14061, 10-14062; to the Court of Appeal, Third Circuit, No. CW97-1290.
Granted. Applications Nos. 97-CC-2906, 97-CC-3096, and 97-CC-3098 are remanded to the court of appeal for consolidation and briefing, argument and opinion.
KNOLL, J., not on panel.
